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        &lt;div&gt;&lt;header&gt;&lt;center&gt;&lt;b&gt;&lt;/b&gt;&lt;p data-paragraph-id="4e85f224b4"&gt;&lt;span data-sentence-id="bd57e4525a" quote="false" data-paragraph-id="4e85f224b4"&gt; Cristobal Fernando Garcia, Petitioner &lt;br /&gt; v.&lt;/span&gt;&lt;span data-sentence-id="63964ce566" quote="false" data-paragraph-id="4e85f224b4"&gt; &lt;br /&gt; The People of the State of Colorado.&lt;/span&gt; Respondent &lt;/p&gt;&lt;p data-paragraph-id="a3efea8f2f"&gt;No. 21SC564&lt;/p&gt;&lt;p data-paragraph-id="2fefc1cee8"&gt;&lt;span data-sentence-id="2fefc1cee8" quote="false" data-paragraph-id="2fefc1cee8"&gt;Supreme Court of Colorado, En Banc&lt;/span&gt;&lt;/p&gt;&lt;p data-paragraph-id="7207dd16ac"&gt;March 28, 2022&lt;/p&gt;&lt;/center&gt;&lt;/header&gt;&lt;br /&gt;&lt;!--OPINION TEXT STARTS HERE--&gt;
 &lt;p id="AppealLine" data-paragraph-id="ad64f7c7d0"&gt;&lt;span data-sentence-id="3f7b0e2d6a" quote="false" data-paragraph-id="ad64f7c7d0"&gt; Court of Appeals Case No. 17CA1910 &lt;/span&gt;&lt;/p&gt;
 &lt;p id="MajorityOpinion" data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;
 &lt;p data-paragraph-id="84a3633aca"&gt;&lt;span data-sentence-id="4b0e798599" quote="false" data-paragraph-id="84a3633aca"&gt; Petition for Writ of Certiorari GRANTED.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="c7687a9196"&gt;&lt;span data-sentence-id="8bbfe429d0" quote="false" data-paragraph-id="c7687a9196"&gt; Whether, as a matter of first impression, the jury must receive an instruction defining the "universal malice" element of extreme indifference murder.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="0a769443c7"&gt;&lt;span data-sentence-id="3f8d61f371" quote="false" data-paragraph-id="0a769443c7"&gt; DENIED AS TO ALL OTHER ISSUES.&lt;/span&gt; &lt;/p&gt;
 &lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;div class="pagebreak"&gt;&lt;span class="number"&gt;1&lt;/span&gt;&lt;/div&gt;&lt;p data-paragraph-id="d41d8cd98f"&gt;&lt;/p&gt;&lt;/div&gt;
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